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                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION


AMERICAN STEWARDS OF LIBERTY,             )
et al.,                                   )
                                          )
                  Plaintiffs,             )
                                          )
JOHN YEARWOOD and WILLIAMSON              )
COUNTY, TEXAS,                            )   Civil No. 1:15-cv-01174-LY
                                          )
                  Plaintiff-Intervenors,  )
                                          )   DEFENDANT-INTERVENORS’
 v.                                       )   EXCERPTS OF ADMINISTRATIVE
                                          )   RECORD
DEPARTMENT OF INTERIOR, et al.,           )
                                          )
                  Defendants,             )
                                          )
CENTER FOR BIOLOGICAL DIVERSITY, )
DEFENDERS OF WILDLIFE, and                )
TRAVIS AUDUBON,                           )
                                          )
______________________________________ )
                   Defendant-Intervenors.
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BATES NUMBERS                           NAME OF DOCUMENT


M003393 – M003424   90-Day Finding on a Petition to Remove the Bone Cave Harvestman
                    From the List of Endangered and Threatened Wildlife

M003626 – M003632   Letter from George Veni, Executive Director, National Cave and
                    Karst Research Institution, to Michael Warriner, Supervisor, USFWS

R000315 – R000337   Bone Cave Harvestman (Texella reyesi) 5-Year Review: Summary
                    and Evaluation
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              Administrative Record Excerpt 1


                          M003393 - M003424

90-Day Finding on a Petition to Remove the Bone Cave Harvestman from the
               List of Endangered and Threatened Wildlife
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Endangered and Threatened Wildlife and Plants; 90-Day Finding on a Petition To

Remove the Bone Cave Harvestman From the List of Endangered and Threatened

Wildlife

AGENCY: Fish and Wildlife Service, Interior.

ACTION: Notice of90-day petition finding.

SUMMARY: We, the U.S. Fish and Wildlife Service (Service), announce a 90-day

finding on a petition to remove the Bone Cave harvestman (Texella reyesi) from the List

of Endangered and Threatened Wildlife under the Endangered Species Act of 1973, as

amended (Act). Based on our review, we find that the petition does not present

substantial scientific or commercial information indicating that the petitioned action may

be warranted. Therefore, we are not initiating a status review in response to this petition.

However, we are in the process of conducting a species status assessment and 5-year

status review and we invite the public, including the petitioners and other interested

parties, to submit new data and information for consideration in this ongoing process. In

particular, we ask the public to submit to us any new information that becomes available

concerning the status of, or threats to, the Bone Cave harvestman or its habitat at any

time.

SUPPLEMENTARY INFORMATION:

Background

        Section 4(b}(3}(A} of the Act (16 U.S.C. 1531 et seq.) requires that we make a

finding on whether a petition to add a species to ("list"), remove a species from ("delist"),

or reclassifY a species on the Lists of Endangered and Threatened Wildlife and Plants

presents substantial scientific or commercial information indicating that the petitioned




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action may be warranted. We are to base this finding on infonnation provided in the

petition, supporting infonnation submitted with the petition. and infonnation otherwise

available in our files . To the maximum extent practicable, we are to make this finding

within 90 days of our receipt of the petition and publish our notice of the finding

promptly in the Federal Register.

       The Services revised the regulations at 50 CFR 424.14 to clarify the procedures

under which the Services evaluate petitions effective October 27. 20 16 (81 FR 66462;

September 27, 2016). We originally received the petition that is the subject of this

document on June 2, 2014, with supplemental infonnation received on October 5, 2016.

We therefore evaluated this petition under the 50 CFR 424.14 requirements that were in

effect prior to October 27,20 16, as those requirements applied when the petition and

supplemental infonnation were received.

       Our standard for substantial scientific or commercial infonnation with regard to a

90-day petition finding was "that amount of infonnation that would lead a reasonable

person to believe that the measure proposed in the petition may be warranted" (50 CFR

424. 14(b)(1)). If we find that substantial scienti fic or commercial infonnation was

presented, we are required to promptly conduct a species status review, which we

subsequently summarize in a 12-month finding.

Petition History

       On June 2, 2014, we received a petition from John Yearwood, Kathryn

Heidemann, Charles and Cheryl Shell, the Walter Sidney Shell Management Trust, the

American Stewards of Liberty, and Steven W. Carothers requesting that we remove the

endangered Bone Cave harvestman from the Federal List of Endangered and Threatened


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Wildlife. The petition clearly identified itself as a petition and included the requisite

identification information for the petitioners, as required at 50 CFR 424.14(a) (now 50

CFR 424.14(c)(I». On June 1,2015, the Service published a 90-day finding in the

Federal Register (80 FR 30990) that the petition did not present substantial scientific or

commercial information indicating that the petitioned action was warranted. On

December IS, 2015, the American Stewards of Liberty, Charles and Cheryl Shell, Walter

Sidney Shell Management Trust, Kathryn Heidemann, and Robert V. Harrison, Sr.

challenged the 2015 90-day finding in Federal district court. The Service sought the

court's permission to reconsider the 90-day finding. On December 22,2016, the court

ordered the Service to complete a new 90-day finding and deliver that finding to the

Federal Register on or before March 3 I, 2017. This 90-day finding supersedes the

Service's previous 2015 90-day finding, and is made pursuant to the court's December

22,2016 order, the 2014 petition, and the additional reference materials accompanying

the petition.

Previolls Federal Actions

        On September 16, 1988, the Service determined that the Bone Cave harvestman

was endangered under the ESA (53 FR 36029). The 1988 final listing determination

included five separate species, one of which was the Bee Creek Cave harvestman.

Subsequent scientific studies concluded that the Bee Creek Cave harvestman actually

consisted of two separate species: the Bee Creek Cave harvestman and the Bone Cave

harvestman. As a result, the Service made a technical correction to include both species

on the list of endangered species (58 FR 43818; August 18, I 993).On March 14, 1994,

we published a 90-day finding (59 FR 11755) on a petition to delist the Bone Cave

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harvestman in which we found that the petition did not present substantial scientific or

commercial information indicating that the petitioned action may have been warranted.

We developed a draft recovery plan on June 7, 1993, and made it final on August 25,

1994 (Service 1994b). On December 4,2009, we completed a 5-year review of the Bone

Cave harvestman, which recommended that the species remain listed as endangered

(Service 2009). On June 1,2015, we published a 90-day finding (80 FR 30990) on a

petition to delist the Bone Cave harvestman which was subsequently withdrawn. This

90-day finding supersedes the Service's 2015 90-day finding. We announced our

initiation of a 5-year review of the Bone Cave harvestman, and requested information for

that review, on April 15,2015 (80 FR 20241).

Species in/ormalion

       For information on the biology and life history of the Bone Cave harvestman, see

the final rule listing this species (53 FR 36029; September 16, 1988), the Endangered

Karst Invertebrates Recovery Plan for Travis and Williamson Counties (Service I 994b),

and the 5-year Status Review for the Bone Cave Harvestman (Service 2009), all posted at

hllp:llecosjws.govlspeciesProjilelprojilelspeciesProjile.aclion?spcode=J009. For

information on preserve design and management for karst invertebrate species

conservation, see the Karst Preserve Design Recommendations (Service 2012) and the

Karst Preserve Management and Monitoring Recommendations (Service 2014) posted at

hllp:llwwwjWs.govlsolllhwesll esl A IIslin TexaslESA _ Sp_ Karst/nverls. hlnl!.

Evaluation of Information for This Finding

       Under section 3( 16) of the Act, we may consider for listing any species, including

subspecies, of fish, or wildlife, or plants, and any distinct population segment of any

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species of vertebrate fish or wildlife that interbreeds when mature (16 U.S.C. 1532( 16».

Such entities are listed under the Act if we determine that they meet the definition of an

endangered or threatened species.

           Section 4 of the Act (16 U.S.C. 1533) and its implementing regulations at 50 CFR

424 set forth the procedures for adding a species to, or removing a species from, the lists

of endangered and threatened species. A species may be determined to be an endangered

or threatened species due to one or more of the five factors described in section 4(a)(I) of

the Act: (A) The present or threatened destruction, modification, or curtailment of its

habitat or range; (B) Overutilization for commercial, recreational, scientific, or

educational purposes; (C) Disease or predation; (D) The inadequacy of existing

regulatory mechanisms; or (E) Other natural or manmade factors affecting its continued

existence.

           We must consider these same five factors in delisting a species. We may delist a

species according to 50 CFR 424.II(d) if the best available scientific and commercial

data indicate that the species is neither endangered nor threatened for the following

reasons: (I) The species is extinct; (2) The species is recovered; or (3) The original data

for classification were in error. According to 50 CFR 424.1 I (d)(3), a species may be

de1isted when subsequent investigations "show that the best scientific and commercial

data available when the species was listed, or the interpretation of such data, were in

error. "

           In making this 90-day finding, we evaluated whether the petition presented

substantial information indicating that the petitioned action (delisting) may be warranted.

The petition did not assert that the Bone Cave harvestman is extinct, nor do we have

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infonnation in our files indicating that the species is extinct. The petition asserted that

new infonnation indicates that the original data, or our interpretation of the data, used in

the listing of this species were in error. The petition also states that significant

conservation has been put in place since the species was listed, such that the species is

recovered.

        In 2009, we conducted a S-year status review of the Bone Cave harvestman

(Service 2009). The purpose of a S-year status review is to evaluate whether or not the

species' status has changed since it was listed (or since the most recent S-year review).

Based on a S-year review, we recommend whether a species should be removed from the

List of Endangered and Threatened Wildlife, be changed in status from endangered to

threatened, be changed in status from threatened to endangered, or remain at its current

status. As part of the 2009 Bone Cave harvestman review, we evaluated whether the

species had met the recovery criteria laid out in the species' recovery plan (Service

I 994b, pp. 86-89).

        Our Recovery Planning Guidance (NMFS and Service 2010) points out that

recovery criteria should address the biodiversity principles of resiliency, redundancy, and

representation (Schaffer and Stein 2000). Resiliency is the ability of a population or

species to persist through severe hardships or stochastic events.

        Redundancy refers to ensuring a sufficient number of populations to provide a

margin of safety to reduce the risk oflosing a species or certain representation (variation)

within a species due to catastrophic events or other threats.

Representation involves conserving "some of everything" with regard to genetic and

ecological diversity to allow for future adaptation and maintenance of evolutionary

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potential. Representation and the adaptive capabilities (NMFS and Service 2010, p.

76994) of the Bone Cave harvestman are also important for long-term viability. Because

a species' genetic makeup is shaped through natural selection by the environments it has

experienced (Shaffer and Stein 2000, p. 308), populations should be protected in the array

of different environments in which the invertebrate species occur as a strategy to ensure

genetic representation, adaptive capability, and conservation of the species. Generally,

the more representation, or diversity, the species has, the more it is capable of adapting to

changes (natural or human-caused) in its environment.

       The recovery plan for the Bone Cave harvestman (Service I 994b, pp. 86--88)

identifies criteria for reclassification (from endangered to threatened), but does not

include delisting criteria because we were unable to determine criteria for delisting the

species at that time. Although meeting recovery criteria is not the standard for delisting,

these reclassification recovery criteria are discussed here as a way of measuring our

progress toward recovery and assessing the current status of the species. The recovery

plan identifies two criteria for reclassifying the species from endangered to threatened:

(I) Three karst fauna areas (if at least three exist) within each karst fauna region in its

range are protected in perpetuity. If fewer than three karst fauna areas exist within a

given karst fauna region, then all karst fauna areas within that region should be protected.

(2) Criterion (I) has been maintained for at least 5 consecutive years with assurances that

these areas will remain protected in perpetuity.

        Karst fauna regions are geographic regions delineated based on geologic

continuity, hydrology, and species distribution (Service I 994b, p. 76). There are six karst

fauna regions in Travis and Williamson Counties, Texas, that are known to contain the

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Bone Cave harvestman (Service I 994b, p. 33): North Williamson, Georgetown,

McNeil/Round Rock, Cedar Park, Jollyville Plateau, and Central Austin. These regions

are used as a way to facilitate conservation of representation and redundancy (as defined

above) throughout the species' range.

        Karst geologic areas were initially established for Travis and Williamson

Counties, Texas, in 1992 (Veni & Associates 1992) and subsequently incorporated as

karst fauna regions into the Recovery Plan for Endangered Karst Invertebrates in Travis

and Williamson Counties, Texas (Service I 994b, pp. 28-34). Karst species zones,

geographic areas used to denote the potential for listed karst invertebrate occurrence,

were revised in 2007 for Travis and Williamson Counties, Texas (Veni and Martinez

2007). That revision incorporated additional species occurrence data and more robust

geological mapping, and provided a more refined assessment of species d,istribution.

While some studies suggest specific karst fauna regions could be redefined (Paquin and

Hedin 2004, p. 3250; White 2006, pp. 93-99), they remain an overall suitable

conservation strategy to aid in species recovery (Veni and Martinez 2007, p. 25; Ledford

e/ at. 2012, p. 12).

        For the purposes of the recovery plan, a karst fauna area "is an area known to

support one or more locations of a listed species and is distinct in that it acts as a system

that is separated from other karst fauna areas by geologic and hydrologic features and/or

processes that create barriers to the movement of water, contaminants, and troglobitic

fauna" that live their entire lives underground (Service I 994b, p. 76). Karst fauna areas

should be far enough apart so that if a catastrophic event (for example, contamination of

the water supply, flooding, disease) were to destroy one of the areas, that event would not

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likely destroy any other area occupied by that species (Service I 994b, p. 76).

       To be considered "protected," a karst fauna area must be sufficiently large to

maintain the integrity of the karst ecosystem on which the species depends (Service

1994b, p. 87). In addition, these areas must also provide protection from threats such as

red imported fire ants, habitat destruction, and contaminants.

       The overall recovery strategy for the Bone Cave harvestman includes the

perpetual protection and management of an adequate quantity and quality of habitat

(three karst fauna areas in each karst fauna regions) that spans the species' geographic

range and provides a high probability of the species' recovery and survival over the long

term. Adequate quality (as discussed below) and quantity of habitat refers to both size

and number of preserved karst fauna areas that are sufficient for supporting the karst

invertebrates and the ecosystems upon which they depend (Service 2011, p. 16). The

recovery plan criteria call for three karst fauna areas (preserves) in each karst fauna

region. The size of karst fauna area preserves should be large enough to ensure

resiliency, as discussed above, and to protect the environmental integrity of the karst

ecosystems upon which the species depends. The number of karst fauna area preserves

called for in the recovery criteria provides redundancy for the species. A minimal level

of redundancy within areas representing differing ecological and genetic makeup is

essential to provide a margin of safety for the species to reduce the risk of losing the

species or representation (variation) within the species from catastrophic events or other

threats (Shaffer and Stein 2000 pp. 307, 309- 310; Groves et al. 2002, p. 506). The Bone

Cave harvestman has significant geographic variability across its range, and loss of a

significant number oflocations in part of its range could result in loss of genetic and

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ecological diversity. The conservation of multiple karst fauna area preserves across the

Bone Cave harvestman's range should provide representation of the breadth of its genetic

and ecological diversity to conserve its adaptive capabilities (Schaffer and Stein 2000, p.

308).

        Adequate quality of habitat refers to (1) the condi tion and configuration of

preserved lands with respect to the known localities for the species, and (2) the ability o f

the species' needs to be met to sustain viable populations. Due to the uncertainty in

determining population viability of the Bone Cave harvestman, the design of preserves

for its protection should be based on estimates and assumptions that favor a high

probability for recovery of this species and the ecosystems upon which it depends as

discussed below.

        The Endangered Karst Invertebrates Recovery Plan for Travis and Williamson

Counties (Service 1994b ) calls for protecting karst fauna areas sufficiently large to

maintain the integrity of the karst ecosystem on which the species depends. This focus

on the ecosystem is consistent with the purposes of the Act, which include "to provide a

means whereby the ecosystems upon which endangered species and threatened species

depend may be conserved" (16 U.S.C. I53I(b». Therefore, we recommend designing

karst fauna area preserves to protect occupied karst feature(s) and associated

mesocavems (humanly impassable voids) . For further guidance on how to provide for

adequate quantity and quality of habitat at specific invertebrate locations, we have

developed and refer to our Karst Preserve Design Recommendations (Service 2012).

        According to our preserve design guidelines (Service 2012, p. 3-5), karst fauna

area preserves should include the followi ng: (1) Surface and subsurface drainage basins

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of at least one occupied cave or karst feature; (2) a minimum of 16 to 40 hectares (ha) (40

to 100 acres (ac» of contiguous, unfragmented, undisturbed land to maintain native plant

and animal communities around the feature and protect the subsurface karst community;

(3) \OS-meter (m) (345-feet (ft)) radius of undisturbed area from each cave footprint for

cave cricket foraging (cave crickets are an important source of nutrient input to the karst

ecosystem) and to minimize deleterious edge effects; and (4) preserves free of pipelines,

storage tanks, or other facilities (for example, water retention ponds) that could cause

contamination.

         Because of the difficulties determining the population viability and habitat

requirements for Bone Cave harvestman, this method follows a precautionary approach,

which provides guidance to avert irreversible risk when facing uncertainty (Service 2012,

p. A-I). Life-history characteristics of this species indicate that it requires stable

temperature and humidity (Barr 1968, p. 47; Mitchell 1971, p. 250), and suggest that this

species cannot be reintroduced because it cannot withstand surface climatic conditions.

       According to anecdotal reports provided to our Austin Ecological Services Field

Office, limited efforts to maintain karst invertebrates in a lab setting have been

unsuccessful. Additionally, captive propagation techniques have not been developed for

karst invertebrates and may be challenging to develop because of their specific

adaptations to subterranean environment. Further, the sample size that would likely be

needed to reintroduce a population into a new location cannot be obtained from existing

populations due to the cryptic nature ofthis species and the fact that often only a few

individuals are observed per cave survey. Therefore, an attempt to re-establish a

population after it has been extirpated is not feasible at this time. In addition, if a

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preserve is later found to be insufficient to support the species due to surrounding

developments being either too close or too dense, the potential for adequately conserving

the site is lost.

        Because the Bone Cave harvestman has a relatively long life span and low

requirements for food, a decline in population size or even the complete extirpation ofthe

population due to the influence of development or other threats may take years or even

decades. Observations of this species over several years on a preserve that is too small

for perpetual species preservation may not allow detection of declines that are actually

occurring. If these observations are used as evidence that a preserve size was adequate,

then the potential for long-term preservation of the species may be lost due to irreversible

development surrounding the preserve. Therefore, preserve sizes should be established

with caution and be large enough !o account for the uncertainty in area requirements for a

population.

         According to the petition, there are now more known occupied locations

identified; there were 6 confirmed caves at listing; 60 confirmed caves at the time the

recovery plan was drafted; and 168 confirmed caves in 2009, when the 5-year status

review was completed (53 FR 36029, September 16, 1988; Service I 994b, 2009). The

petition also states that more locations are likely to be found. We acknowledge that there

are more known locations since the time those documents were completed and that the

increase is likely an increase in our knowledge, not a true increase in the number of

populations or range; however, species are listed under the Act based on an overall

assessment of their viability and threats to their continued existence and not a simple

assessment of the number of sites or size of the species' range. Some of the ongoing

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threats to the species include habitat loss to development, alteration of drainage patterns,

alteration of surface plant and animal communities, and contamination.

       The petition states that 94 karst preserve areas are currently providing significant

conservation. While these karst preserve areas are an important tool for preserving the

current population of Bone Cave harvestman, many of the existing protected areas

referenced in the petition are too small to meet the Service's preserve design

recommendations. As part of the 2009 5-year status review of the Bone Cave

harvestman, we reviewed the status of all of the known locations of the harvestman

(including 83 of the 94 mentioned in the petition) to assess whether the criteria from the

recovery plan to reclassify the species from endangered to threatened had been met for

the Bone Cave harvestman. We considered the habitat size and condition to evaluate

whether the locations could meet the preserve design recommendations (a reflection of

the potential to support a resilient popUlation) and then also looked at whether legally

binding mechanisms were in place to provide protection of these sites over the long term

(in perpetuity).

        Of the locations known at the time of the 5-year review, 21 areas appeared to have

the potential to meet the preserve design criteria. Our status review refers to 21 areas,

while the petition incorrectly indicates that the status review considered 28 sites. This

discrepancy is because the petition considers each individual cave location, while our

status review considered closely located caves to be part of the same karst fauna area. Of

these 21 areas, 1 is no longer confirmed to have the species (Barker Ranch Cave No. I),

and 5 are now protected karst fauna areas (Priscilla's Well, Twin Springs, Cobbs Cavern,

Karankawa, and Tooth Cave).

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       In addition, at most of the remaining locations (of the 21 areas), we lack

information to confirm that they meet the preserve design criteria (such as whether the

surface and subsurface drainage basins are protected; tract acreage; exact locations of the

cave within the area; and management activities to protect against threats, such as red

imported fire ants). Also, many of these areas do not have a legally binding mechanism

that ensures perpetual protection and management. Hence, we are unsure whether those

areas have adequate undeveloped acreage, management, or protection mechanisms to

ensure the long-term protection and survival of the Bone Cave harvestman.

       Of the five protected karst fauna areas that meet preserve design criteria, four

occur in the North Williamson County Karst Fauna Region and one occurs in the

Jollyville Plateau Karst Fauna Region. However, this species occurs in six karst fauna

regions, and four of these have no protected karst fauna areas that are confirmed to meet

preserve design recommendations. Therefore, the best available information indicates

that the criteria for reclassification from endangered to threatened for this species have

not been met, nor has adequate redundancy and representation (three karst fauna areas in

each karst fauna region) been protected throughout the species' range, leaving the species

vulnerable to existing threats including habitat destruction.

       The petition asserts that four additional locations are known since the time of the

5-year review. However, the petition does not provide adequate information that would

support whether these four additional locations are in a condition to meet preserve design

recommendations. Based on information in our files, we are aware of one additional cave

since the 5-year review that may meet preserve design recommendations in the North

Williamson Karst Fauna Region; however, it is privately owned, and we are unsure about

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the property acreage and if the site receives any type of protection or management.

Regardless, the amount of protected karst fauna area still falls short of the criteria for

reclassification from endangered to threatened.

        Further, we reviewed 83 of the 94 caves identified in the petition as receiving

some level of protection in the 5-year review. Two of the caves that we did not review

(Cobbs Cavern and Whitney West Cave) are now in confirmed karst fauna areas

mentioned above (Cobbs Cavern and Twin Springs); one (Pond Party Pit) is in the Beard

Ranch Cave area discussed in the 5-year review; and we have no locality information or

taxonomic verifications for the remaining caves, and this information was not provided in

the petition.

        The petition also asserts that threats to the species are not as severe as originally

thought. We evaluate that information, below, with respect to the five listing factors.

        Factor A: The present or threatened destruction. modification. or curtailment oj

the species' habitat or range. In the 1988 listing rule (53 FR 36029), we stated that the

primary threat to the Bone Cave harvestman was the potential loss of habitat due to

development activities, which could result in filling in or collapsing of caves; alteration

of drainage patterns; increase in flow of sediment, pesticides, fertilizers, and urban run-

off into caves; and increase in human visitation and vandalism.

        We also considered additional information on threats to the species when we

developed the recovery plan for the species (Service I 994b, pp. 59-65) and when we

conducted the 5-year status review of the species (Service 2009, p. 2), in which we

concluded that no change in the species' status (that is, reclassification to threatened or

delisting) was warranted. We also reviewed available threat information in our files and

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in a 1993 petition when we made our negative 90-day finding on that petition to delist (59

FR 11755; March 14, 1994).

       The current petition asserts that h[ d]evelopment activities on the surface may not

result in the significant loss or degradation of habitat for T. reyes; as originally thought"

and suggests that evidence of this is persistence of the species in caves surrounded by

developed areas. Examples given in the petition are Inner Space Caverns, Sun City

caves, Weldon Cave, Three-Mile Cave, and Four-Mile Cave. However, the observation

of the species in these locations does not mean their populations at these locations are

thriving or can withstand the long-term impacts from development activities that are

expected to occur to karst invertebrate populations in developed areas, as discussed in the

listing rule, recovery plan, and 5-year status review for the Bone Cave harvestman. In

addition, increased development provides greater opportunities for contamination events

such as pipeline leaks or hazardous material spills.

        Bone Cave harvestman populations may be declining or threatened even though

they are still observed at a specific site. The petition does not provide adequate

information to detect population trends for this species and it is not available from other

sources. This species has life-history strategies that include characteristics such as low

metabolic and reproductive rates, long life spans, and inherently low sample sizes, which

make it difficult to detect population response to possible impacts (Poulson and White

1969, p. 977; Howarth 1983, p. 374). We indicated in the 1994 90-day petition finding

(59 FR 11755) that more time was needed to detect if the species was declining; however,

while more time has passed, we are still lacking adequate data to conduct a trend

analysis. It may be infeasible to assess karst invertebrate population trends in any

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statistically significant manner given their association with humanly inaccessible cave

habitat such as mesocavems (Krejca and Weckerly 2007, p. 287). Human surveyors

likely only have the opportunity to survey individuals from a subset of the available

habitat (Knapp and Fong 1999, p. 6).

       The petition states that several Sun City caves are examples of areas where the

species can persist in developed areas. However, the petition failed to provide data

adequate to assess trends in the karst invertebrate populations since the development

occurred. In addition, we worked with the Sun City developers when they designed the

project to develop strategies that we believed at the time would avoid or minimize the

possibility of "take" oflisted karst species. While we now believe that most of the Sun

City cave preserves are too small to meet our preserve design recommendations for

recovery and long-term survival (Service 2012), we expect that the strategies and

conservation measures put in place likely have reduced the rate of impacts to the species.

       The commercial cave known as Inner Space Caverns is another example the

petition provided where the Bone Cave harvestman continues to persist in a developed

area. Although the Bone Cave harvestman may be present at Inner Space Caverns, this

does not ensure its populations are robust and secure; they may still be declining, and are

at risk due to competition with surface-dwelling invertebrates and other threats associated

with development, such as the potential for contamination. This cave has an overgrowth

of blue-green algae growing near cave lights where the petition states that this species has

been observed. This type of algae is known as "Iampentlora" and favors surface-

dwelling invertebrate species that can out-compete karst invertebrate species (Mulec and

Kosi 2009, p. 109; Culver 1986, p. 438), such as the Bone Cave harvestman. The petition

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failed to provide any data adequate to assess trends in the karst invertebrate population in

relation to the time (duration and frequency) that they have been exposed to the artificial

lighting. Additionally, part of the cave footprint occurs under a major interstate highway

and train tracks, both of which present a threat of a contaminant spill that could impact

the species in the future.

        Weldon Cave was another example in the petition of a cave occupied by the Bone

Cave harvestman within a developed area. Based on the best available information in our

files, this cave is surrounded by undeveloped open space. Other than a small portion of

the subsurface drainage basin potentially being impacted by a school campus, this cave

appears to meet our preserve design recommendations but is not within a developed area,

as asserted in the petition. Three-Mile Cave and Four-Mile Cave were also provided in

the petition as examples of developed caves wherein the Bone Cave harvestman is known

to occur. According to the petition, surveys conducted by SWCA in 200S and 2009

documented the Bone Cave harvestman at these locations. However, detailed survey data

were not provided by the petitioners and were not in the SWCA 2009 "Annual Report of

Activities Involving Endangered Karst Invertebrates under Threatened and Endangered

Species Permit TES00611 - 2."

        The petition also states that, since the Bone Cave harvestman uses mesocavems, it

is protected from surface development activities because mesocavems are "geologically

protected." We are unclear why the petition contends that mesocavems are protected

because mesocavems are subject to rapid permeation of surface water (Cowan e/ al.

2007, p. 160), and karst landscapes (including mesocavems) are particularly susceptible

to groundwater contamination because water penetrates rapidly through bedrock conduits

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providing little or no filtration (White 1988, p. 149).

       One of the major threats to the Bone Cave harvestman is habitat loss due to

increasing urbanization. The Bone Cave harvestman is a troglobite, meaning it lives its

entire life underground. Karst ecosystems are heavily reliant on surface plant and animal

communities for nutrient input.

       Caves in central Texas that are occupied by federally listed karst invertebrates,

such as the Bone Cave harvestman, receive energy (or nutrients) primarily from (I)

detritus (decomposing organic matter) that falls or is washed into the caves, and (2)

energy brought into the caves by cave crickets (Cellthophillls spp.) (Barr 1968, p. 48;

Reddell 1993, p. 2; Lavoie et al. 2007, p. 114; Taylor et al. 2003, p. 3; 2004, p. 2; 2005,

p. 97), which are found in most Texas caves (Reddell 1966, p. 33). Cave crickets forage

widely in the surface habitat surrounding the cave. Karst invertebrates feed on the cave

cricket eggs (Mitchell 1971, p. 251), feces (Barr 1968, pp. 51- 53, Poulson et al. 1995, p.

226), and directly on the crickets themselves (Elliott 1994, p. 15).

        Development within urbanized areas can destroy or alter the surface plant and

animal communities on which karst invertebrates depend. As development increases

within the cave crickets' foraging area, there may be dramatic shifts in the available food

supply within the cave (Taylor et al. 2007, p. 7). The leaflitter and other decomposing

material that make up most of the detritus from the surface plant and animal community

may also be reduced or altered, resulting in a reduction of nutrient and energy flow into

the cave. A study by Taylor et al. (2007) compared caves in urbanized areas that were

impacted by development to those in natural areas and found that, even though a small

area within a largely urbanized ecosystem may support a cave community where karst

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invertebrates are occasionally seen, these populations are significantly lower than those

found in caves in more natural, less developed ecosystems, most likely as a result of

reduced nutrient input. Another study at Lakeline Cave in Travis County, Texas, was

conducted in association with the issuance of a habitat conservation plan and

accompanying section 1O(a)(l )(B) permit issued for Lakeline Mall. That study is based

on data collected from 1992 through 2011, which documented a significant decline

during that 20-year timeframe in another endangered karst invertebrate, the Tooth Cave

ground beetle (Rhadine persephone), and cave crickets as development increased (ZARA

2012, pp. 8, 10, 12). Further, at Lakeline Mall Cave, no more than three Bone Cave

harvestmen have been observed during any single survey (ZARA 2012, p. 11). Also, no

Bone Cave harvestmen were seen during 6 years (1993, 1999, 2001, 2006, 2009, and

2010) and 12 surveys in Lakeline Mall Cave (ZARA 2012, p. 11).

       Available information in our files supports our projection in the 1988 listing rule

(53 FR 36029) that development and human population would continue to increase

within the range of the species. The population of the City of Austin grew from 251,808

people in 1970, to 735,088 people in 2007 (City of Austin 2007). This represents a 192-

percent increase over the 37-year period. Population projections from the Texas State

Data Center (2012, pp. 496-497), estimate that Travis County will increase 94 percent in

population from 1,024,266 in 2010, to 1,990,820 in 2050. The Texas State Data Center

also estimates an increase in human population in Williamson County from 422,679 in

2010, to 2,015,294 in 2050 representing a 377-percent increase over a 40-year timeframe.

All human population projections from the Texas State Data Center presented here are

under a high-growth scenario, which assumes that migration rates from 2000 to 2010 will

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continue through 2050 (Texas State Data Center and the Office ofthe State Demographer

2012, p. 9). Urbanization and human population growth and development were identified

as a threat in the original 1988 listing rule and continue to represent a threat to the

species.

       Factor B: OverutilizationJor commercial. recreational. scientific. or educational

purposes. In the 1988 listing rule for the Bone Cave harvestman (53 FR 36029), we did

not identify any threats under this factor. Likewise, the petition and our review of the

information in our files did not identify any threats under this factor.

        Factor C: Disease or predation. In the 1988 listing rule (53 FR 36029), we

stated that increased human population increases the threat of predation by and

competition with exotic (nonnative) and native surface-dwelling species, such as sow

bugs, cockroaches, and red imported fire ants. The petition states that "[r]ecent studies

suggest that fire ants may not present as significant or as lasting of a threat to the species

as originally believed." The information cited regarding red imported fire ants is

identified in the petition as an article by Porter and Savignano (1990), which we

previously considered in our finding on the 1993 petition (59 FR 11755; March 14,

1994), and another study by Morrison (2002). The petition states that "a subsequent

study by Morrison in 2002 revisited the Porter and Savignano (1990) study area 12 years

later and replicated their study."

           Morrison (2002, pp. 2341, 2343-2344) found that arthropod communities had

rebounded to pre-RIFA [red imported fire ant]-invasion levels and that all measures of

native ant and other arthropod species' diversity had returned to pre-invasion levels. Red

imported fire ants were still the most abundant ant species, but not nearly as abundant as

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during the initial red imported fi re ants infestation. He concluded that the impacts to

arthropod communities by red imported fire ants might be greatest during and shortly

after the initial invasion, but long-term impacts are likely not as significant as once

believed. However, we note that Morrison (2002, p. 2342) also states that "it is quite

likely that red imported fire ants did contribute directly or indirectly to the disappearance

or reduction in numbers of species" and that their study "should not be interpreted as an

indication that detrimental effecls of invasive ants will simply disappear with time." In

add ition, Ihis is nol "new information" as we have already reviewed these articles and

considered the information they provided in Ihe Bexar County Karst Invertebrates

Recovery Plan (Service 2011 , p. 12) and in our Karst Preserve Management and

Monitoring Recommendations (Service 201 4, p. 3), which is applicable here as all central

Texas endangered karst invertebrates have similar life-history characteristics, and one of

the Bexar County invertebrates (the Cokendolpher Cave harvestman) is in the same genus

(Texella) as the Bone Cave harvestman. In addition, red imported fire ants have been

found within and near many caves in central Texas and have been observed feeding on

dead troglobites, cave crickets, and other species within caves (Elliott 1992, p. 13 ; 1994,

p. 15; 2000, pp. 668, 768; Reddell 1993, p. \0; Taylor et al. 2003, p. 3).

       Factor D: The inadequacy of existing reguiato/y mechanisms. The 1988 listing

rule (53 FR 36029) states that "Ihere are currently no laws that protect any of these

species or that indirectly address protection of their habitat." While the petition did

discuss some new ordinances that appear to have been put in place since the time of

listing, we do not have enough information to indicate whether or not these State and

local ordinances provide enough protection from all threats to the Bone Cave harvestman

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in perpetuity.

        The petition states that "the regulatory landscape includes a number of measures

contributing to the conservation of the species outside of the protections afforded by the

Endangered Species Act of 1973, as amended." For example, they say that protections

offered though the City of Austin are adequate to protect the species in Austin, Texas. In

the course of our work, we have reviewed these regulations and understand that most

caves that are defined by the City of Austin's Environmental Criteria Manual as a cave

are provided a 46- to 9l-m (150- to 300-ft) set-back area (City of Austin 2014, p. 13-3).

However, a 46-m (l50-ft) or 9l-m (300-ft) set-back is not adequate to meet our preserve

design criteria, does not protect the cave cricket foraging area, and potentially does not

include the surface and subsurface drainage basins. Further, the City of Austin's

regulations are not applicable across the full range of the Bone Cave harvestman because

the species occurs in Travis and Williamson Counties, including areas outside the Austin

city limits.

        The petition states that the City of Georgetown Water Quality Management Plan

for the Georgetown salamander will offer protection to the Bone Cave harvestman. They

state that this plan encourages the use of best management practices to protect water

quality at Georgetown salamander locations. However, there are few Bone Cave

harvestman locations that occur near Georgetown salamander locations, so any protection

offered to the harvestman would be limited. Further, it is not clear from the petition

whether this mechanism is voluntary, regulatory, or is currently in effect. In addition,

the petition did not provide enough detail for us to evaluate all benefits this plan would

provide to the Bone Cave harvestman, and it appears that participation in this plan is at

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least in part voluntary.

       The petition states that the Texas Commission on Environmental Quality (TCEQ)

Edwards Rules provide protection to recharge features on the Edwards Plateau and that

this provides protection from pollution to the Bone Cave harvestman. In a discussion of

Factor 0 in the Bexar County Karst Invertebrates Recovery Plan (Service 2011, p. 13),

we state that "the TCEQ water quality regulations do not provide much protection to the

species' habitat (see 65 FR 81419- 81433 for more infonnation). For example, while

some TCEQ practices provide protection from water quality impacts, others, such as

sealing cave entrances for water quality reasons, can hann karst invertebrates." Sealing

cave entrances can be hannful by blocking off water (leading to drying) and nutrient

input to the karst invertebrate habitat. In addition, not all of the caves and mesocaverns

that the Bone Cave harvestman occurs in are considered recharge features and, therefore,

would not receive some of the water quality protection measures. Also, not all locations

of the Bone Cave harvestman are under the jurisdiction of the Edwards Rules.

        Factor E: Othernalllral or manmade/actors affecting the continued existence of

the species. In the 1988 listing rule (53 FR 36029), we stated that this species is

extremely vulnerable to losses because of its severely limited range and because of its

naturally limited ability to colonize new habitats. We also stated that the very small size

of the species habitat units and the fragile nature of cave ecosystems make this species

vulnerable to even isolated acts of vandalism. The petition states, "Inner Space Cavern

demonstrates that the species can persist in caves with frequent human visitation and may

be more tolerant of related habitat modification than originally believed." They also

provide Three-Mile Cave and Four-Mile Cave as examples of caves that have

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experienced human use yet the species persists in them. The petition contends that, since

the Bone Cave harvestman exists in Inner Space Caverns, human visitation is not a threat.

The petition also states that Three-mile and Four-mile Cave had graffiti from the I 890s,

1920s, and 1950s. However, no detailed information was provided to demonstrate if

these caves experienced continued human use. The petition also indicates that Four-Mile

Cave was inaccessible to humans prior to 2009, due to boulders blocking the entrance. In

addition, the petition provided no trend analysis for these caves. As stated earlier, the

observation of the species in these locations does not mean the populations at these

locations have not been impacted (in a way that is short of extirpation) or can withstand

the long-term impacts that are expected to occur to karst invertebrate populations in

developed areas or from human visitation.

        In the species 5-year status review (Service 2009, p. 18), we said, "[a ]Ithough

climate change was not identified as a threat to T. reyesi in the original listing document

or in the recovery plan, the species' dependence on stable temperatures and humidity

levels opens the possibility of climatic change impacting this species. Therefore, while it

appears reasonable to assume that T. reyesi may be affected, we lack sufficient certainty

to know how climate change will affect this species."

        The petition states that "the use of small voids or 'mesocaverns' within the

geologic formations known to support occupied caves mitigates the potential threat of

climate change." We acknowledge that mesocavems may provide some protection from

fluctuations in temperature and humidity that may be induced by climate change.

However, the presence of mesocaverns alone will likely not be sufficient to ameliorate all

of the effects that climate change may pose to this species, especially in the long run.

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Karst invertebrates depend on stable temperatures and high humidity (Barr 1968, p. 47;

Mitchell 1971, p. 250). The temperatures in caves are typically the average annual

temperature of the surface habitat and vary much less than the surface environment

(Howarth 1983, p. 372; Dunlap 1995, p. 76). If average surface temperatures increase,

this could result in increased in-cave temperatures, which could affect the Bone Cave

harvestman.

       Increased and/or more severe storms, as well as prolonged periods of high

temperatures and drought between rainfall events, associated with anticipated climate

change effects may also impact the cave environment. Changes in rainfall regimes may

affect the harvestman in several ways, including directly either through flooding or

indirectly by modifying their habitat or nutrient availability. Changes in rainfall regimes

could (I) alter the moisture levels within the caves leaving them drier between floods,

which could lead to desiccation of the Bone Cave harvestman; and (2) affect the amount

and timing of nutrients washed into a cave, potentially resulting in longer periods

between nutrient input. These changes to drier and less suitable conditions in the caves

will likely cause the Bone Cave harvestman to retreat farther into mesocavems and away

from nutrients that are thought to be located in larger cave passages (Howarth 1987, pp.

5- 7), causing individuals to spend more energy trying to acquire nutrients in an already

stressed environment. In addition, caves in arid regions have been shown to have smaller

invertebrate populations and diversity due to less moisture and nutrient availability

(George Veni, National Cave and Karst Research Institute, pers. comm. 2010). Since the

Bone Cave harvestman is also sensitive to these habitat parameters, it is reasonable to

predict that the effects of climate change on these habitat parameters could affect its

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populations in a similar manner despite the presence of mesocavems.

        Further, stochastic (random) events from either environmental factors (for

example, severe weather) or demographic factors (which come from the chance events of

birth and death of individuals) exacerbate threats to the species because of its small

population size (Melbourne and Hastings 2008, p. 100). The risk of extinction for any

species is known to be highly inversely correlated with population size (Pimm el al.

1988, pp. 774-775; O'Grady el al. 2004, pp. 516, 518). In other words, the smaller the

population the greater the overall risk of extinction. Therefore, threats to the Bone Cave

harvestman are exacerbated by its small population size, which makes it more vulnerable

to existing threats.

Finding

        The   u.s. Fish and Wildlife Service and the National Marine Fisheries Service
(Services) use the rulemaking process in our administration of the Act, in particular

section 4 of the Act. Section 4(b )(3) of the Act establishes deadlines and standards for

making findings on petitions to conduct rulemakings under section 4. As stated above,

the Services revised the regulations at 50 CFR 424.14 to clarify the procedures under

which the Services evaluate petitions effective October 27,2016 (81 FR 66462;

September 27,2016). We originally received the petition that is the subject of this

document on June 2, 2014, with supplemental infonnation received on October 6,2016.

We therefore evaluated this petition under the 50 CFR 424.14 requirements that were in

effect prior to October 27,2016, as those requirements applied when the petition and

supplemental infonnation were received.

        We have reviewed the petition, including all accompanying materials, and

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evaluated readily available, related infonnation in our files. The results of the 20095-

year review and the assessment of threats in the five factor analysis presented in this 90-

day finding do not indicate that the original classification was made in error. The

petitioners have primarily based their contention that the species can thrive in developed

areas on infonnation that we have previously considered and rejected while working on

previous documents (Service 2009, 2012). Petitioners present limited new infonnation,

such as the fact that four occupied caves have been discovered since the 5-year status

review. In addition, petitioners assert that seven other caves are occupied. However, we

lack, and the petition did not provide, locality infonnation or taxonomic verifications

related to these potential additional locations of the species. The other arguments

presented in the petition lack a large enough sample size to produce population trend

infonnation for the Bone Cave harvestman. The petition provided no trend analysis to

indicate that this species can withstand the threats associated with development or climate

change over the long tenn . In addition, these threats, particularly those related to

development, appear to be increasing in severity. Based on our review and evaluation,

we find that the petition does not present substantial scientific or commercial infonnation

indicating that the delisting of the Bone Cave harvestman may be warranted due to

recovery, extinction, or error in the original scientific data at the time the species was

classified or in our interpretation of the data.

        Although this finding ends our fonnal consideration of the petition, we are in the

process of conducting a species status assessment and 5-year status review. Specifically,

section 4(c)(2)(A) of the Act requires us to review each listed species' status at least once

every 5 years. On April 15, 2015, we published a notice in the Federal Register initiating

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this review (80 FR 20241). The purpose of a 5-year review is to detennine whether listed

species should be removed from the list or changed in status under the Act. In this case,

we are developing a species status assessment as a tool to infonn the 5-year status review.

The 5-year review will consider whether the species status has changed since the time of

its listing or its last status review and whether it should be reclassified as threatened or

delisted. We invite the public, including the petitioners and other interested parties, to

submit new data and infonnation for consideration in this ongoing process.

        Much progress has been made toward recovery in the North Williamson and

Jollyville Plateau Karst Fauna Regions. We encourage interested parties to continue to

gather data and implement conservation actions across the range of the Bone Cave

harvestman that will further assist with the conservation of this species. If you wish to

provide infonnation regarding the Bone Cave harvestman, you may submit your

infonnation or materials to the Field Supervisor, Austin Ecological Services Field Office

(see ADDRESSES) at any time.

References Cited

A complete list of references cited is available on the Internet at

http://www.reglliations.gov and upon request from the Austin Ecological Services Field

Office (see FOR FURTHER INFORMATION CONTACT).

Authors

        The primary authors of this document are staff members ofthe Austin Ecological

Services Field Office.




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Authority

         The authority for this action is the Endangered Species Act of 1973, as amended

(16 U.S.C. 1531 et seq.).




Dated:




         Director. U.S. Fish and Wildlife Service




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             Authority

a                               The authoritY for this action is the Endangered Species Act of 1973, as amended

             (16 U.S.C. 1531 et seq.).




             Dated: ＭｾａｍｒｚｄＲＰｕｬＱＷＬ




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    ｾ･ｴ｜ｓ＠                      Director, U.S. Fish and Wildlife Service




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                Administrative Record Excerpt 2


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Letter from George Veni, Executive Director, National Cave and Karst Research
             Institution, to Michael Warriner, Supervisor, USFWS
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                                                                           21 March 2017

Michael Warriner, Supervisor
U.S. Fish and Wildlife Service
Austin Ecological Services
10711 Burnet Rd., Suite 200
Austin, TX 78758
Via e-mail: michael_warriner@fws.gov

Re: Commercial value of endangered karst invertebrates


Dear Mr. Warriner,

This letter responds to the issue about the commercial value of endangered karst
invertebrate species that are federally listed in Texas, with emphasis on the Bone Cave
harvestman (Texella reyesi). I am writing in two capacities. First, I am the Executive
Director of the National Cave and Karst Research Institute (NCKRI), which was created
by the US Congress in 1998 and mandated to:
    1) further the science of speleology;
    2) centralize and standardize speleological information;
    3) foster interdisciplinary cooperation in cave and karst research programs;
    4) promote public education;
    5) promote national and international cooperation in protecting the environment
         for the benefit of cave and karst landforms; and
    6) promote and develop environmentally sound and sustainable resource
         management practices.
Second, I have conducted extensive research and provided management guidance
to the US Fish and Wildlife Service (USFWS) for the past 29 years since the karst
invertebrates were listed. Most of this work occurred prior to my employment by NCKRI
when I ran my own company that specialized in cave and karst environmental
consulting.

While the issue in question focuses on the Bone Cave harvestman, my reply will apply to
the Bone Cave harvestman and all of the listed karst invertebrates in Texas.

In general, the Bone Cave harvestman and all endangered karst invertebrates are
easily dismissed as having no commercial value. They are tiny, relatively few in
observable number, produce no known vital ecological services to humanity, and are
difficult to observe in their dark, underground environments. However, this view point is
quite limited and misses several important commercial contributions that can be
classified into the following four categories that I elaborate on below:
     • Research
     • Conferences and publications


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                                 info@nckri.org • www.nckri.org                     M003626
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   •   Environmental/water supply protection
   •   Public education/tourism

Research
Study of the all of the listed karst species invertebrate and other species in their
ecosystems began decades before the species were listed. Some of those studies were
the foundation for the listings. Since the listings, studies of the karst ecosystems, not just
the Bone Cave harvestman and the other listed karst invertebrate species, have
intensified tremendously. I emphasize the importance of the ecosystems because the
listed species do not occur in isolation from other animals. Understanding the ecology,
life cycles, and conservation needs of the Bone Cave harvestman and other listed karst
invertebrates requires an equal understanding of the non-listed species which share
their habitat. In my experience, this is best illustrated by my work for USFWS that
delineated “Karst Fauna Regions” based on the distribution of the listed species and
associated non-listed species that defined regions of similar habitat in the Bexar (Veni,
1994, 2002) and Travis and Williamson County areas (Veni and Associates, 1992; Veni
and Martinez, 2007). These Karst Fauna Regions stand as the foundation on which
critical habitat and many other conservation measures are based (e.g., USFWS 1994,
2012).

The listing of the species focused biological attention on the critical need to study the
invertebrates and associated non-listed species. My funded biological consulting
projects alone included taxonomic specialists in the various animal groups who lived in
nine US states (California, Iowa, Missouri, New Hampshire, New York, North Carolina,
Ohio, Texas, and Virginia) and two countries (Canada and USA), as an example of
interstate and intrastate commerce. Most of my projects were funded by private
corporations and individuals, as well as by public agencies. I am aware of dozens of
other consulting studies on the listed and associated non-listed species, including the
listed Bone Cave harvestmen, and would not be surprised if such studies totaled in the
hundreds. Scientists have been funded by diverse interstate and intrastate sources of
grants and contracts to study these species. I am aware of published research on the
listed and associated non-listed fauna in their ecosystems that were collectively
supported by grants and contracts provided by:
     • Austin Community Foundation (Bendik et al., 2013)
     • Cave Research Foundation (Krejca, 2009)
     • City of Austin (Bendik et al., 2013)
     • Engineer Research and Development Center (Taylor and Krejca, 2005)
     • La Cantera Development Company (Paquin and Hedin, 2004; White et al., 2009)
     • Marist College (Espinasa et al., 2016)
     • National Speleological Society (Krejca, 2009)
     • North American Native Fishes Association (Krejca, 2009)
     • P.E.O. Presidential Endowed Scholar Award (Krejca, 2009)
     • Phi Kappa Phi (Krejca, 2009)
     • Phi Sigma Biological Honor Society (Bendik et al., 2013)
     • Sigma Xi (Krejca, 2009)

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   •   Texas Department of Transportation (Paquin and Dupérré, 2009)
   •   Texas Parks and Wildlife Department (Bendik et al., 2013)
   •   University of Arizona (Gomez et al., 2016)
   •   University of Texas at Arlington (Bendik et al., 2013)
   •   University of Texas at Austin (Krejca, 2009)
   •   University of Texas at Austin Environmental Studies Institute (Krejca, 2009)
   •   University of Texas at Austin Institute for Latin American Studies (Krejca, 2009)
   •   University of Texas at Austin Zoology Department (Krejca, 2009)
   •   US Army (Taylor and Krejca, 2005)
   •   US Fish and Wildlife Service (Bendik et al., 2013; Paquin and Hedin, 2004; White et
       al., 2009)
   •   US National Science Foundation (Bendik et al., 2013; Gomez et al., 2016)

One important aspect of the above research is that it adds to the repository of human
knowledge. History contains many examples of how pure research of no apparent
commercial value was later found to have direct, broad application for practical
commercial purposes (e.g. the importance of insulin to relieving diabetes). The
proverbial and perhaps actual cure to cancer and many other human needs may be
discovered through this foundational research on the listed karst invertebrates.

Conferences and publications
I am not aware of any conferences dedicated to the listed karst invertebrates. The
Austin Field Office of the USFWS holds occasional “Karst Conservation Initiative”
workshops and seminars that are attended by land managers, scientists, consultants,
and students throughout the region.

In contrast, I am aware of a least 18 papers on the listed invertebrates and associated
species presented at the 15th International Congress of Speleology, which was held in
Kerrville, Texas in 2009 (White, 2009). Most of these were offered at a special symposium:
Protection and Management of Rare and Endangered Subterranean Fauna. Dozens of
other papers have been presented at other conferences and published in professional
journals. The most focused publications on the species in question are the Texas
Speleological Monograph series published by the Texas Memorial Museum, with issue
numbers 1, 3, 5, 6, and 7 being especially notable as Studies on the Cave and
Endogean Fauna of North America, I-V.

Environmental/water supply protection
In 2000, the citizens of the City of San Antonio voted to increase their taxes to raise $45
million to acquire environmentally sensitive land. After those funds were expended, they
voted again but to raise $90 million in 2005, and again in 2010 for another $90, and most
recently approving $100 million in 2015 (City of San Antonio, 2017) by a majority of
nearly 80%.

The environmentally sensitive areas of interest were primarily over the recharge zone of
the Edwards Aquifer, where this sole source water supply is naturally replenished by

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rainfall. Much of this area overlaps with habitat of several of the listed karst
invertebrates. A similar program was enacted in the City of Austin, but I am focusing on
San Antonio because I was highly involved with the project as a member of the
Scientific Evaluation Team that created the model to identify the most preferred lands
to acquire. A key element of that model included the areas where endangered
species were known, raising their value in importance in protecting the single most of
important economic resource of that region—the water supply for nearly 2 million
people (Veni et al., 2001).

These popular actions were initiated by citizens who were frustrated by the State’s
perceived limitations on protecting the Edwards Aquifer from urbanization. Acquisition
of the land by purchase and easement proved a solution to the limited power of
regulations. Similarly, although indirectly, numerous properties that were preserved to
protect populations of karst invertebrates, also protect the quality and quantity of
water that recharges the Edwards Aquifer in the San Antonio and Austin areas. Like the
human species, the karst invertebrates require an adequate volume of water and that
it be clean of the chemicals that pollute urban runoff. The volume of water replenishing
the aquifer through these preserves could be calculated, and its commercial value
determined. In addition to clean water, the air-filtering capacity of the abundant trees
in these protected areas could be calculated. Two direct interstate and intrastate
commercial values to the clean Edwards Aquifer water include commercial bottling
companies (e.g. Artesia Springs water and Lone Star Brewing) and food sales (e.g.
Pace Foods).

Public education/tourism
Several of the properties acquired for environmental and water protection, including
protection of the listed karst invertebrates, are now parks and other publically
accessible open spaces that enhance the quality of life in those communities. I’m not
aware of any studies that have quantified how many people moved to those cities or
into adjacent neighborhoods to enjoy those benefits, but expect they could be
determined.

Sun City in Williamson County, Texas, prides itself on its lack of property fences and
abundant freely accessible green spaces, yet many of those green spaces were set
aside to protect the listed karst invertebrates, including the Bone Cave harvestman.
Many of the homeowners may not be aware of the invertebrates, but they were willing
to pay a premium for their homes next to those karst preserves. I can’t help but believe
that out-of-town visitors to such homes may stay a little longer in the area, infusing more
of their income into the local economies, because of the amenities resulting from these
protected endangered species areas. The Sun City Corporation has requested the
Texas Speleological Survey to produce a book on the caves of Sun City that it could
distribute to its residents. The book is in production.

While the listed karst invertebrates are not generally observable by the public, there are
some locations where they might be seen. Inner Space Cavern is home to the Bone

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Cave harvestman and hosts tens of thousands of visitors each year. I do not recall ever
hearing that the owners of the cave advertise that fact, but I expect that if they did
that it may increase visitation.

In contrast, the Texas Cave Management Association advertises on its website
(http://www.tcmacaves.org/robberbaron/index.php) and on-site kiosk the presence of
two endangered invertebrates in Robber Baron Cave, Texella cokendolpheri which is
similar to the Bone Cave harvestman, and the blind spider Cicurina baronia. Hundreds
of people are led through the cave each year, most of whom make donations to the
nonprofit association to learn about the cave, its history, and inhabitants.

Further, at the National Cave and Karst Research Institute I have an exhibit plan for our
museum that is in development. It includes a karst species viewing area. To the best of
my knowledge, this will be the first exhibit where the general public can directly view
and learn about karst invertebrate species, which will be concurrently studied by
institute staff to learn more about the species’ life cycles and to how to captive breed
them in case of catastrophic loss in their native habitat. The listed karst invertebrates are
not considered for display initially, but potentially at a later time when captive raising
and display of related non-listed species proves that the listed species can be
contained and raised safely. Generally over 400,000 people each year visit Carlsbad
Caverns National Park, which is located near the institute, and I anticipate that many of
those people will also visit the national cave and karst museum and science center we
are creating.

Closing
I am not an economist and am not qualified to quantify the commercial economic
value of the listed karst invertebrates. However, I believe I have shown that there is
considerable and diverse direct, indirect, and potential commercial value to the
species.

If you have questions or need additional information, please let me know.


                                                  Sincerely,




                                                  George Veni, Ph.D.
                                                  Executive Director

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           Administrative Record Excerpt 3


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      Bone Cave Harvestman (Texella reyesi) 5-Year Review:
                   Summary and Evaluation
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                     Bone Cave Harvestman
                        (Texella reyesi)


                        5-Year Review:
                    Summary and Evaluation




                    U.S. Fish and Wildlife Service
                Austin Ecological Services Field Office
                            Austin, Texas




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                                            5-YEAR REVIEW
                                 Bone Cave Harvestman (Texella reyesi)

1.0     GENERAL INFORMATION

1.1     Reviewers:

        Lead Regional Office:             Southwest Regional Office, Region 2
                                          Susan Jacobsen, Chief, Threatened and Endangered Species
                                          505-248-6641
                                          Wendy Brown, Recovery Coordinator, 505-248-6664
                                          Julie McIntyre, Recovery Biologist, 505-248-6657

        Lead Field Office:                Austin Ecological Services Field Office (AESFO)
                                          Cyndee Watson, Endangered Species Biologist
                                          512-490-0057 x 223

1.2     Methodology used to complete the review:

        The U.S. Fish and Wildlife Service (Service) conducts status reviews of species on the
        List of Endangered and Threatened Wildlife and Plants (50 CFR 17.12) as required by
        section 4(c)(2)(A) of the Endangered Species Act (16 U.S.C. 1531 et seq.). The Service
        provides notice of status reviews via the Federal Register and requests information on the
        status of the species. This review was conducted by Cyndee Watson and Bill Seawell
        from the AESFO. This status review mostly relied on information summarized and cited
        in Balcones Canyonlands Preserve (BCP) 1 Annual Report (BCCP 2009a) 2 and the BCP
        cave assessment (BCCP 2009b). We also used the draft Bexar County Karst Invertebrate
        Recovery Plan (Bexar RP) (Service 2008), which contains new karst invertebrate
        research and preserve design concepts; the Recovery Plan for Endangered Karst
        Invertebrates in Travis and Williamson Counties, Texas (Travis and Williamson RP)
        (Service 1994), and cave data contained within AESFO’ s files.

        As a basic first step in assessing whether caves that contain T. reyesi met the downlisting
        recovery criteria in the Travis and Williamson RP, we compiled a list of some basic
        characteristics (further described in Section 2.2.3). While the Travis and Williamson RP
        discusses broad concepts regarding preserve design, the draft Bexar RP has an appendix
        that is a compilation of research to help more specifically delineate preserve boundaries
        that follow those basic concepts (Service 2008). These preserve design principles and
        characteristics describe what is needed to protect each karst feature and its surrounding

1
  BCP - A system of preserves permanently set aside to conserve habitat for 8 endangered species (including T.
reddelli) and 27 species of concern as part of a joint regional 10(A)(1)(B) incidental take permit PRT 788841, held
by the City of Austin and Travis County.
2
  BCCP - The incidental take permit mentioned above is also referred to as the Balcones Canyonlands Conservation
Plan (BCCP).


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      area. From the list of known locations of these species, we identified those that had the
      highest likelihood of meeting these characteristics. Our determinations (discussed in
      section 2.2.3) for each of these characteristics were based on site-specific information
      found in the AESFO files and on cave location and parcel data. Unless otherwise noted,
      all acreage estimates were calculated using Geographic Information Systems (GIS) (2008
      digital aerial photography, 2006 Travis County parcel data, and 2005 Williamson County
      parcel data) and are subject to typical margins of error associated with GPS units, GIS,
      and transferring data from paper sources to digital media. These acreages and respective
      cave locations need to be ground-truthed (i.e., verified by site visits).

1.3   Background:

      The Bone Cave harvestman, Texella reyesi, is a troglobite which is a species restricted to
      the subterranean environment. As typical of troglobites, this harvestman exhibits
      morphological adaptations to that environment, such as elongated appendages and loss of
      eyes and pigment. Troglobitic habitat includes caves and mesocavernous voids in karst
      limestone (a terrain characterized by landforms and subsurface features, such as sinkholes
      and caves, which are produced by solution of bedrock) in Travis and Williamson
      Counties. Karst areas commonly have few surface streams; most water moves through
      cavities underground. Within this habitat this species depends on high humidity, stable
      temperatures, and nutrients derived from the surface. Examples of nutrient sources
      include leaf litter fallen or washed in, animal droppings, and animal carcasses. The
      harvestman is predaceous upon small or immature arthropods. It is imperative to
      consider that while these species spend their entire lives underground, their ecosystem is
      very dependent on the overlying surface habitat.

      Texella reyesi was listed as endangered in 1988 based on the threats of: 1) habitat loss to
      development; 2) cave collapse or filling; 3) alteration of drainage patterns; 4) alteration of
      surface plant and animal communities, including the invasion of exotic plants and
      predators (i.e. the red-imported fire ant (RIFA), Solenopsis invicta), changes in
      competition for limited resources and resulting nutrient depletion, and the loss of native
      vegetative cover leading to changes in surface microclimates and erosion; 5)
      contamination of the habitat, including groundwater, from nearby agricultural
      disturbance, pesticides, and fertilizers; 6) leakages and spills of hazardous materials from
      vehicles, tanks, pipelines, and other urban or industrial runoff; and 7) human visitation,
      vandalism, and dumping; mining; quarrying (limestone); or, blasting above or in caves.

      There are 168 caves known to contain T. reyesi in Travis and Williamson Counties,
      Texas (Table 1). Currently, T. reyesi faces the same threats that it did at the time it was
      listed.

      1.3.1   FR Notice citation announcing initiation of this review: 75 FR 20134, April
              23, 2007




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      1.3.2   Listing history

              Original Listing
              FR notice: 53 FR 36029
              Date listed: September 16, 1988
              Entity listed: Bone Cave harvestman (Texella reyesi)
              Classification: Endangered

      1.3.3   Associated rulemakings: In an August 18, 1993, Federal Register notice (56 FR
              43818), the Service gave T. reyesi protection under the Act as a separate species.
              It had previously been listed as endangered as a part of the Bee Creek Cave
              harvestman (Texella reddelli), which was subsequently re-classified into two
              species, and this notice was made to ensure that it continued to receive protection
              under the Act.

      1.3.4   Review History: Status reviews for T. reyesi were conducted in 1988 for the
              final listing of the species (53 FR 36029) and in 1994 for the Travis and
              Williamson RP (Service 1994).

      1.3.5   Species’ Recovery Priority Number at start of 5-year review: 2C

      1.3.6   Recovery Plan or Outline

              Name of plan or outline: Recovery Plan for Endangered Karst Invertebrates
              (Travis and Williamson Counties, Texas)
              Date issued: 1994

2.0   REVIEW ANALYSIS

2.1   Application of the 1996 Distinct Population Segment (DPS) policy

      2.1.1   Is the species under review a vertebrate? No, the species is an arachnid, so the
              DPS policy does not apply.

2.2   Recovery Criteria

      2.2.1   Does the species have a final, approved recovery plan containing objective,
              measurable criteria? Yes

      2.2.2   Adequacy of recovery criteria.

              2.2.2.1 Do the recovery criteria reflect the best available and most up-to-date
                      information on the biology of the species and its habitat? Yes




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        2.2.2.2 Are all of the 5 listing factors that are relevant to the species
                 addressed in the recovery criteria (and is there no new information
                 to consider regarding existing or new threats)? Yes

2.2.3   List the recovery criteria as they appear in the recovery plan, and discuss
        how each criterion has or has not been met, citing information: The recovery
        plan only provides criteria for downlisting from endangered to threatened (Service
        1994).

Recovery Criteria: Each species will be considered for reclassification from endangered
to threatened when:

        (1) Three karst fauna areas (KFA) (if at least three exist) within each karst fauna
        region (KFR) in each species’ range are protected in perpetuity. If fewer than
        three KFAs exist within a given KFR, then all KFAs within that region should be
        protected. If the entire range of a given species contains less than three KFAs,
        then they should all be protected for that species to be considered for downlisting.
        (2) Criterion (1) has been maintained for at least five consecutive years with
        assurances that these areas will remain protected in perpetuity.

There are seven KFRs (adapted from the karst fauna areas in Figure 19 of Veni &
Associates’ 1992 report and reproduced in Figure 2 of the Travis and Williamson RP) in
Travis and Williamson counties that are known to contain listed karst invertebrate
species. These regions are delineated based on geologic continuity, hydrology, and the
distribution of rare troglobites.

Within each KFR, established karst preserves may be considered a KFA if they meet
recovery criteria. For the purposes of the recovery plan, a KFA is an area known to
support one or more locations of a listed species and is distinct in that it acts as a system
that is separated from other KFAs by geologic and hydrologic features and/or processes
that create barriers to the movement of water, contaminants, and troglobitic fauna. Karst
fauna areas should be far enough apart so that if a catastrophic event (for example,
contamination of the water supply, flooding, disease) were to destroy one of the areas,
that event would not likely destroy any other area occupied by that species. To be
considered “protected”, a KFA must be sufficiently large to maintain the integrity of the
karst ecosystem on which the species depend(s). In addition, these areas must also
provide protection from threats such as red-imported fire ants (Solenopsis invicta)
(RIFA), habitat destruction, and contaminants.

Brief summary of preserve design principles:
Much of the conservation and recovery of this endangered and cryptic species is
dependent upon the long-term preservation of its habitat. Because most endangered karst
invertebrates are difficult to detect during in-cave faunal surveys, their conservation
strategies focus on the delineation, study, and management of occupied KFAs.
Regarding size and configuration of KFAs, the Travis and Williamson RP provides some
conceptual guidelines on habitat conditions that are important to karst invertebrates,

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including maintaining humid conditions, air flow, and stable temperatures in the air-filled
voids. Also necessary are maintaining adequate nutrient supply; preventing
contamination from the surface and groundwater entering the karst ecosystem;
controlling the invasion of exotic species, e.g., RIFA; and allowing for movement of the
karst fauna and nutrients through voids between karst features (Service 1994).

Additional scientific information and karst preserve design guidelines are presented in the
draft Bexar RP and help to further define a protected KFA (Service 2008). According to
these preserve design guidelines, KFAs should include the following: 1) surface and
subsurface drainage basins of at least one occupied karst feature (i.e., cave); 2) ideally a
minimum of 24 to 36 hectares (ha) (59 to 89 acres (ac)) of contiguous, unfragmented,
undisturbed land to maintain native plant and animal communities around the feature and
protect the subsurface karst community; 3) 105 meter (m) (345 foot (ft)) radius,
undisturbed area, from each cave entrance for cave cricket foraging; and 4) at least 100 m
(328 ft), undisturbed, from the cave footprint to the edge of the preserve to minimize
deleterious edge effects (Service 2008). The Bexar RP also recognizes various qualities
of KFAs. A medium quality KFA is 16 to 24 ha (40 to 60 ac) and a high quality KFA is
24 to 36 ha (60 to 90 ac). Any karst preserve less than 16 ha (40 ac) will not count
toward meeting the minimum Bexar County RP recovery criteria (Service 2008). The
quality of KFAs is defined based on probability of long-term survival of the species in
that area and the amount of active management necessary to maintain those species.
High quality KFAs tend to be larger, require less active management, and have a higher
probability of long-term species survival. Medium quality KFAs have some
compromised characteristics of a high quality preserve, but still have potential for
reasonable remediation. Additionally, the Bexar RP outlines perpetual management,
maintenance, and monitoring necessary for ensuring a high probability of species survival
at each site (Service 2008). At a minimum, these activities should include: 1) controlling
RIFA; 2) installing and maintaining fencing; 3) installing, if necessary, and maintaining
cave gates; and 4) monitoring of karst invertebrates and the ecosystem upon which they
depend (Service 2008).

Analysis regarding whether downlisting criteria have been met:
There are currently 168 caves known to contain T. reyesi, spanning all 7 established
KFRs in Travis and Williamson Counties, Texas (Table 1). These caves are within the
North Williamson (55 caves), Georgetown (35 caves), McNeil/ Round Rock (61 caves),
Cedar Park (2 caves), Jollyville Plateau (12 caves), Central Austin (2 caves), and the
South Travis (1 cave) KFRs. Based on a review of available data, one karst preserve in
the North Williamson County KFR currently meets the definition of a protected KFA,
Priscilla’ s Well KFA. Other than this one KFA, there are 20 additional tracts in the
North Williamson (6 tracts), Georgetown (3 tracts), McNeil/Round Rock (6 tracts),
Jollyville Plateau (4 tracts), and South Travis (1 tract) KFRs that may meet the definition
of a KFA. However, more research is needed to delineate surface and/or subsurface
drainage basins, confirm locations and tract acreage, and confirm management activities
at all caves that have potential to be a KFA. Below is a discussion of these tracts/caves
and a description of how they have the potential to meet KFA status.



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           North Williamson County KFR
           Priscilla’ s Well KFA – The Williamson County Conservation Foundation owns this 20 ha
           (51 ac) Priscilla’ s Well tract 3 that was recently acquired as a land donation as part of
           participation in the Williamson County Regional Habitat Conservation Plan (Williamson
           County RHCP) for the Ronald Reagan Boulevard extension. It has two caves (Priscilla’ s
           Cave and Priscilla’ s Well Cave) that contain T. reyesi and is considered a protected KFA
           by the Service. The cave entrances and footprints for both caves are more than 105 m
           (345 ft) from the nearest edge (i.e., disturbance e.g. road or a development) (SWCA
           2008). The surface and subsurface drainage basins have been delineated based on
           topographic maps and are included in the preserve; however, onsite verification of the
           delineations has not been performed (SWCA 2008). As part of the management for these
           caves, the Williamson County Conservation Foundation will maintain fencing, conduct
           quarterly site visits looking for human intrusion and RIFA, and conduct annual cave
           fauna surveys.

           Karankawa Cave and Polaris Cave
           These privately-owned caves are located in a tract that is approximately 52 ha (130 ac)
           and have potential to meet the definition of a KFA because of the large amount of
           undeveloped land in and around this tract. The cave entrances for Karankawa Cave and
           Polaris Cave are located >700 m (>2,296 ft) and 609 m (2,000 ft) from the nearest edge,
           respectively. We do not have a map of the cave footprints so we cannot measure the
           distance to the nearest edge (i.e., disturbance via road or a development). To our
           knowledge the surface and subsurface drainage basins have not been delineated for either
           of these caves, so we do not know if they are inside this tract. Also, we do not know if
           these caves receive any management, including looking for signs of trespass, RIFA, or
           monitoring of T. reyesi.

           Shaman Cave and Pow Wow Cave – This >40-ha (>100-ac) tract is owned by Sun City
           and several other owners. Two caves on this tract contain T. reyesi and both have
           potential to meet the definition of a KFA. The cave entrance and footprint for Shaman
           Cave are located within the tract (Verdorn 1994) and the nearest edge (i.e., disturbance
           via road or a development) is >210 m (>700 ft) from the cave entrance; however, the
           cave footprint is <15 m (<50) ft away from the property boundary (although the adjacent
           tract is currently undeveloped so there is a possibility of protecting the area 100 m from
           the cave footprint). The surface drainage basin is likely included within the preserve
           (Verdorn 1994); however, the subsurface drainage basin has not been delineated to our
           knowledge. The nearest edge to the entrance of Pow Wow Cave is 143 m (470 ft) and
           the cave footprint is about 126 m (415 ft) (Verdorn 1994 and aerial photos). We do not
           have delineations of the surface or subsurface drainage basin for this cave, so we do not
           know if they are included in the tract. Also, we do not know if these caves receive any
           management, including looking for signs of trespass, RIFA, or monitoring of T. reyesi.

            Red Crevice Cave, Temples of Thor Cave, and Thor Cave
           This 42 ha (105 ac) preserve is owned by Texas Cave Management Association (TCMA)
           and is known as the Godwin Ranch preserve. It was established as part of the mitigation
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    Tract – refers to a contiguous undeveloped piece of land.

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for Lakeline Mall (Simon 1992). Three caves on this tract contain T. reyesi and each has
the potential to meet the definition of a KFA. The cave entrance and footprint for Red
Crevice Cave are located within the tract (Simon 1992) and the nearest edge (i.e.,
disturbance e.g. road or a development) is about 200 m (about 656 ft) from the cave
entrance. The distance from the nearest edge to the entrance of Temples of Thor Cave
and Thor Cave is 121 m (400 ft) and 192 m (630 ft) respectively. We do not have maps
of the cave footprints of Temples of Thor Cave or Thor Cave so we are unsure how far
they are to the edge of the preserve. The surface and subsurface drainage basins have not
been delineated for these caves to our knowledge; therefore, we do not know whether
they are included in this tract. As part of the management for these caves, TCMA
contracts with ZARA Environmental to conduct RIFA treatment; however, no cave fauna
surveys are being conducted (ZARA 2008).

Jensen Cave
This cave is located on a privately-owned tract that is about 60 ha (150 ac) in area and is
known to contain T. reyesi. Due to the size of undeveloped land within and around this
tract, it has potential to be a KFA. The cave entrance is located 190 m (625 ft) to the
nearest edge (i.e., disturbance e.g. road or a development). We do not have a map of the
cave footprint and we do not have information on whether the surface and subsurface
drainage basins for this cave have been delineated, so we do not know if they are in the
preserve. Also, we do not know if these caves receive any management including
looking for signs of trespass, RIFA, or monitoring of T. reyesi.

Lobo’ s Lair Cave and Wolf’ s Rattlesnake Cave
These caves are located on a privately-owned tract that is about 117 ha (290 ac) and are
known to contain T. reyesi. Due to the size of undeveloped land within and around this
parcel, it has potential to be a KFA. The cave entrance is located 701 m (2,300 ft) and
806 m (2,646 ft) to the nearest edge (i.e., disturbance e.g. road or a development) from
Lobo’ s Lair Cave and Wolf’ s Rattlesnake Cave, respectively. We do not have a map of
the cave footprint for either cave and we do not have information on whether the surface
and subsurface drainage basins for these caves have been delineated, so we do not know
if they are in the preserve. Also, we do not know if these caves receive any management,
including looking for signs of trespass, RIFA, or monitoring of T. reyesi.

Twin Springs
This recently-acquired preserve is on a 58 ha (145 ac) tract and contains 1 cave that is
known to contain T. reyesi (Sunless City Cave) but it is too close to a road to be
considered a KFA. However, a second cave (location needs to be verified) on the tract
may contain T. reyesi pending taxonomic confirmation. Williamson County has
indicated they plan to submit a detailed proposal as to how this area has the potential to
be a KFA. Once we receive that information, we will consider whether this preserve has
potential to be a KFA.




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Georgetown KFR
Round Rock Breathing Cave
This privately-owned cave is located on a 21 ha (52 ac) tract and is known to contain T.
reyesi. Due to the size of undeveloped land within this parcel, it has potential to be a
KFA. The cave entrance is located 152 m (500 ft) from the nearest edge. We do not
have a map of the cave footprint and we do not have information on whether the surface
and subsurface drainage basins for this cave have been delineated, so we do not know if
they are in the tract. Also, we do not know if this cave receives any management,
including looking for signs of trespass, RIFA, or monitoring of T. reyesi.

Steam Cave and Fence-line Sink
These two privately-owned caves are known to contain T. reyesi and are on a tract that is
60 ha (150 ac). Due to the size of undeveloped land within and around this tract, it has
potential to be a KFA. The distance from the cave entrances are 396 m (>1,300 ft) and
274 m (900 ft) to the nearest edge (i.e., disturbance via road or a development) from
Steam Cave and Fence-line Sink, respectively. We do not have maps of the cave
footprints so we are unsure how far they are to the nearest edge. The surface and
subsurface drainage basins have not been delineated for these caves to our knowledge; so
we do not know whether they are included in this tract. Also, we do not know if these
caves receive any management, including looking for signs of trespass, RIFA, or
monitoring of T. reyesi.

Wilco and Millenium Preserve
The Wilco Preserve is a 52 ha (130 ac) tract that is adjacent to the Millennium preserve
which is a 36 ha (90 ac) tract. These two preserves were established with funding from
the Williamson County Conservation Foundation, the Act’ s Section 6 program, and
Texas Department of Transportation (TxDOT) to offset impacts to T. reyesi from
development and to provide recreational opportunities for the citizens of Williamson
County. We do not have maps of the recreational facilities that are currently in place or
future planned developments in relation to where the T. reyesi caves are on these
preserves. However, Williamson County has indicated they plan to submit a detailed
proposal as to how this area has the potential to be a KFA. Once we receive that
information we will consider whether these two preserves have potential to be a KFA.

McNeil/Round Rock KFR
Blessed Virgin Cave
This privately-owned cave is located in a tract that is approximately 21 ha (52 ac) and has
potential to meet the definition of a KFA because of the large amount of undeveloped
land in and around this tract. The cave entrance is 359 m (1,180 ft) from the nearest
habitat edge; however, it is <15 m (<50 ft) to the property line. We do not have a map of
the cave footprints so we cannot measure the distance to the nearest edge. To our
knowledge, the surface and subsurface drainage basins have not been delineated for this
cave, so we do not know if they are inside this tract. Also, we do not know if these caves
receive any management, including looking for signs of trespass, RIFA, or monitoring of
T. reyesi.



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Weldon Cave
This privately-owned cave is part of the BCP (BCCP 2009b) and is known to contain T.
reyesi. It occurs on a tract that is 32 ha (80 ac) and has potential to be a KFA due to the
large amount of undeveloped land in this tract. The distance from the cave entrance to
the nearest edge is 106 m (350 ft) (BCCP 2009b). The distance from the nearest habitat
edge to the cave footprint is 96 m (347 ft) (based on Elliott 1997 and aerial photos). The
surface drainage basin has been delineated but we are unsure whether it is included in the
tract (BCCP 2009b). The subsurface drainage basin has not been delineated (BCCP
2009b). Also, we do not know if these caves receive any management, including looking
for signs of trespass, RIFA, or monitoring of T. reyesi.

Rockfall Cave
This privately-owned cave is located in a tract that is approximately 9 ha (24 ac) and has
potential to meet the definition of a KFA only because of the large amount of
undeveloped land adjacent to this tract. The cave entrance is located 185 m (610 ft) away
from the nearest habitat edge and about 3 m (10 ft) from the property line. We do not
have a map of the cave footprint so we cannot measure the distance to the nearest edge.
To our knowledge the surface and subsurface drainage basins have not been delineated
for this cave, so we do not know if they are inside this tract. Also, we do not know if
these caves receive any management, including looking for signs of trespass, RIFA, or
monitoring of T. reyesi.

Raccoon Lounge Cave
This privately-owned cave is located in a tract that is approximately 117 ha (290 ac) and
has potential to meet the definition of a KFA due to the large amount of undeveloped
land in this tract. There is a road going through this tract; however, it is about 243 m
(800 ft) from the cave entrance, which is located 198 m (650 ft) away from the nearest
edge (i.e., disturbance via road or a development). We do not have a map of the cave
footprint, so we cannot measure the distance to the nearest edge to the cave footprint. To
our knowledge the surface and subsurface drainage basins have not been delineated for
this cave, so we do not know if they are inside this tract. Also, we do not know if this
cave receives any management, including looking for signs of trespass, RIFA, or
monitoring of T. reyesi.

Wyoming Springs Corridor Caves
Two caves, WS 54 and WS 71a, occur on a privately owned tract that is 117 ha (290 ac).
The adjacent privately-owned tract contains cave WS 65 and is 125 ha (310 ac). All
three of these caves contain T. reyesi and have potential to meet the definition of a KFA
due to the large amount of undeveloped land in these two tracts. While there is some
disturbance (i.e., edge or disturbance by roads or development) in both of these tracts, the
disturbance is located about 152 m (500 ft) from the closest cave entrance (WS 54a). The
distance from the nearest edge to the cave entrance of caves WS 65 and WS 71a is 274 m
(900 ft) and 198 m (650 ft) respectively. We do not have maps of the cave footprints, so
we cannot measure the distance from the footprint to the nearest edge. To our knowledge
the surface and subsurface drainage basins have not been delineated for these caves, so
we do not know if they are inside this tract. Also, we do not know if these caves receive

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any management, including looking for signs of trespass, RIFA, or monitoring of T.
reyesi.

Chaos Cave Preserve
This cave preserve was established to offset impacts to T. reyesi due to construction of
State Highway 45 North (Consultation no. 2-15-1998-F-0205; TxDOT 2003). While this
preserve is only 12 ha (30 ac) it is adjacent to large areas of undeveloped land, therefore
it has potential to be a KFA. The 3 caves occurring on this tract, Chaos Cave, Under the
Fence Cave, and Poison Ivy Cave, all contain T. reyesi; however, only the first 2 caves
have the potential to be KFAs because Poison Ivy Cave is only 58 m (192 ft) from the
nearest edge. The distance from the nearest edge (i.e., disturbance e.g. road or a
development) to the cave entrance of Chaos Cave and Under the Fence Cave is 173 m
(570 ft) and 137 m (450 ft), respectively (based on TxDOT 2003 and aerial photos). The
distance from the cave footprint to Chaos Cave and Under the Fence Cave is 169 m (554
ft) and 136 m (446 ft) respectively (Veni 2003 and aerial photos). The surface drainage
basin for Chaos Cave may be included in the preserve (Veni 2003); however, a detailed
delineation has not been conducted. The surface drainage basin for Under the Fence
Cave and the subsurface drainage basins have not been delineated for these two caves.
Management for all three T. reyesi caves on this preserve includes biological surveys
every three years, biannual cave cricket surveys, and biannual RIFA surveys (TxDOT
2003).

Jollyville Plateau KFR
Cuevas (Tomen Park)
This Travis County-owned tract contains several caves with listed species and three of
these caves contain T. reyesi (Gallifer Cave, Tooth Cave, and McDonald Cave) and may
meet the definition of a KFA. This cave cluster is within a tract that is 772 ha (1,909 ac)
(BCCP 2009b). While Gallifer Cave, Tooth Cave, and McDonald Cave are the only
three caves that have the potential to be considered a KFA for T. reyesi, all of the caves
and karst features within this tract contribute to the long-term viability and stability of the
KFA. The entrances and footprints for all of these caves are contained within this tract.
The cave entrance for Gallifer Cave is 198 m (650 ft) and the cave footprint is about 189
m (620 ft) from the nearest edge (i.e., disturbance via road or a development) (Elliott
1997, Service 2008). The Tooth Cave entrance is 73 m (240 ft) from the nearest edge
and the cave footprint is about 16 m (52 ft) from the nearest edge (Elliott 1997, Service
2008). The cave footprint distance for Tooth Cave was measured using the ground-
penetrating radar map by Veni (2006). The cave entrance of McDonald Cave is 365 m
(1,200 ft) to the nearest edge (BCCP 2009b) and the distance from the nearest edge to the
cave footprint is about 335 m (1,099 ft) (based on Elliott 1997 and aerial photos). The
surface and subsurface drainage basins for Gallifer Cave and Tooth Cave are included in
this tract (Veni 2006). The surface drainage basin for McDonald Cave has been
delineated and is included in the tract; however, the subsurface drainage basin has not
been delineated (BCCP 2009b). As part of the management for these caves, the Travis
County BCP staff conducts quarterly cave cricket exit counts, maintains the perimeter
fences, and conducts biannual surface monitoring to look for signs of trespass and RIFA
(BCCP 2009a). They also conduct an annual faunal survey at Gallifer Cave, quarterly

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        faunal surveys at Tooth Cave, and quarterly faunal surveys at McDonald Cave (BCCP
        2009a).

        Stovepipe Cave
        The City of Austin owns this cave and it is part of the BCP (BCCP 2009a). It is known
        to contain T. reyesi. This 21 ha (52 ac) tract has a narrow connection to more than 1,695
        ha (4,189 ac) of additional BCP land (BCCP 2009b) and the cave entrance and footprint
        are more than 105 m (345 ft) from any disturbance. The surface drainage basin is
        protected and included in the tract; however, the subsurface drainage basin has not been
        delineated (BCCP 2009a, b). As part of management for the cave, the City of Austin
        maintains the perimeter fence and conducts quarterly surface monitoring looking for
        human intrusion, implements RIFA control using boiling water, and conducts biannual
        cave fauna surveys (BCCP 2009a, b).

        Four Points
        This privately-owned and managed 21 ha (52 ac) tract has been preserved for the benefit
        of endangered karst invertebrates (Service 1994) and is considered part of the BCP 4 .
        Three caves in this tract contain T. reyesi (MWA Cave, Eluvial Cave, and Jollyville
        Plateau Cave), and have potential to meet the definition of a KFA. The distances from
        the nearest edge (e.g. road or development) are 128 m (420 ft), 152 m (500 ft), and 213 m
        (700 ft) from the entrance of MWA cave, Eluvial Cave, and Jollyville Plateau Cave,
        respectively (BCCP 2009b). The distances from the nearest edge to the cave footprint are
        115 m (380 ft), 143 m (471 ft), and about 137 m (450 ft) to MWA Cave, Eluvial Cave,
        and Jollyville Plateau Cave, respectively (per aerial photography and Elliot 1997). This
        tract is adjacent to more than 162 ha (400 ac) of BCP land. The surface drainage basins
        have been delineated for all three of these caves but we are unsure if they are in the
        preserve (BCCP 2009b). The subsurface drainage basins have not been delineated
        (BCCP 2009b). As part of management for these caves, a perimeter fence was installed
        and RIFA are treated at least twice a year (ACI 2003, 2004, 2005, 2006, 2007).

        Beard Ranch Cave
        This City of Austin-owned cave is known to contain T. reyesi and is part of the BCP. It
        occurs on a tract that is 1,695 ha (4,189 ac) in area (BCCP 2009b). Due to the large
        amount of undeveloped land in this tract, it has the potential to be a KFA. The distance
        from the cave entrance to the nearest edge (i.e., disturbance due to road or a
        development) is 723 m (2,375 ft) (Dolph Scott, City of Austin, pers. comm., 2009). We
        do not have a map of the cave footprint, so we are unsure whether it is in the tract. The
        surface drainage basin is protected and included in the tract. The subsurface drainage
        basin has been delineated, but we are unsure whether it is in the tract (BCCP 2009b). As
        part of management for the cave, the City of Austin BCP staff conducts quarterly surface
        monitoring (BCCP 2009b).




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 If preserves are established within the BCCP acquisition boundaries, they are considered part of the BCCP and
contribute to the total acreage of the preserve system (Rose Farmer, Travis County, pers. comm. 2008).

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      South Travis County KFR
      Barker Ranch Cave No. 1
      This cave is located on the City of Austin’ s Water Quality Protection Lands on a tract
      that is 32 ha (81 ac) in area and contains T. reyesi. Due to the size of undeveloped land
      within and around this parcel, it has potential to be a KFA. The cave entrance is located
      823 m (>2,800 ft) to the nearest edge (i.e., disturbance via road or a development). We
      do not have a map of the cave footprint and we do not have information on whether the
      surface and subsurface drainage basins for this cave have been delineated, so we do not
      know if they are in the tract. Also, we do not know if these caves receive any
      management, including looking for signs of trespass, RIFA, or monitoring of T. reyesi.

      Table 1. Distribution of T. reyesi

                               Size of tract
   Cave Name                      (ac)*      Notes
                                      North Williamson KFR
Priscilla's Well Cave               51       KFA
Karankawa Cave                     130       potential KFA
Polaris Cave                       130       potential KFA
Shaman Cave                                  10-ac setback in 100-ac undeveloped parcel; potential
                                   100       KFA
                                             10-ac setback in 100-ac undeveloped parcel; potential
Pow Wow Cave                       100       KFA
Red Crevice Cave                   105       Lakeline Mall mitigation; potential KFA
Temples of Thor Cave               105       Lakeline Mall mitigation; potential KFA
Thor Cave                          105       Lakeline Mall mitigation; potential KFA
Jensen Cave                       ~150       potential KFA
Lobo's Lair                        290       potential KFA
Wolf's Rattlesnake Cave            290       potential KFA
Flat Rock Cave                     290       close to an edge
Twin Springs Cave                  145       Williamson County Conservation Foundation
Sunless City Cave                  145       close to a road
Snake Dancer Cave                  130       1-ac setback
Prairie Flats Cave                  3        3-ac setback
Abused Cave                         15
Williams Cave No. 1                 15
Cobb Drain Cave                      ?       close to road?
Coke Box Cave                        ?       close to road?
Duckworth Bat Cave                ~10
Cat Cave                          ~11
Salt Lick Cave                      6
Salt Lick Cave                      6
3 Mile Cave                         2        close to road?
Lizard's Lounge Cave                14


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Dwarves Delight Cave         14
Apache Cave                  5
Double Dog Hole Cave         5
Choctaw Cave                 4          3-ac setback
Ute Cave                     37         15-ac setback
Venom Cave                   37         15-ac setback
Unearthed Cave               37
Deliverance No. 1 Cave       26         13-ac setback
Deliverance No. 2 Cave       26         13-ac setback
Trail of Tears Cave           26        14-ac setback
Do Drop In Cave               8         5- ac setback
Dragonfly Cave                13        8-ac setback
Electro-Mag Cave              15        8-ac setback
Kiva Cave No. 1               3
Medicine Man Cave             12        8-ac setback
Turner Goat Cave              30         4-ac setback
You Dig It Cave               30        2-ac setback
Woodruff's Well Cave          10        1-ac setback
Yellow Hand Cave              2         1-ac setback
Holler Hole Cave              6         4-ac setback
Viper Cave                     ?
Buzzard Feather Cave         ~30
Hourglass Cave               ~30
Cassidy Cave                 <1
Pussy Cat Cave               <2
Rattlesnake Inn Cave        >1000       close to road
Texella Cave                 <1
Waterfall Canyon Cave         2         close to edge
                                 Georgetown KFR
Round Rock Breathing Cave     52        potential KFA
Fortune 500 Cave              52        close to edge
Ominous Entrance Cave         52        close to a road
Steam Cave                  ~150        potential KFA
Fence-line Sink             ~150        potential KFA
Mongo Cave                   130        Wilco Preserve
Wilco Cave                   130        Wilco Preserve
Wild West Cave               130        Wilco Preserve
Rock Ridge Cave              130        Millennium Preserve
Through Trip Cave             90        Millennium Preserve
Little Demon Cave             90        Millennium Preserve
Millennium Cave               90        developed; ~100' from road
Yamas Cave                   <14

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Mayfield Cave                ?
Bone Cave                    ?
Brown^s Cave                <1
Elm Cave                    <1       developed; close to houses
Formation Forest Cave     linear     <10-ac setback
Posh Cave                  <10       <20' from road
Step-Down Cave              <2
Inner Space Cavern           4       150' from road
Man-With-A-Spear Cave       12
Mayor Elliott Cave         ~60       In 5-ac greenspace
Mosquito Cave                5       In 5-ac greenspace
Onion Branch Cave            5
Off Campus Cave             <1
On Campus Cave              40       close to edge
Price Is Right Cave         <1
Rootin Tootin Cave          <5
Short Stack Cave          linear
Sierra Vista Cave           <1
Snowmelt Cave               <1
Tres Amigos Cave            <2
Zapata Cave               linear
Flowstone Rift Cave          7
                             McNeil/Round Rock KFR
Blessed Virgin Cave         52       potential KFA
Weldon Cave                 80       potential KFA
                                     potential KFA because adjacent to undeveloped land
Rockfall Cave               24       with adequate acreage to be KFA
Raccoon Lounge Cave        290       potential KFA
WS-54                      290       potential KFA
WS-71a                     290       potential KFA
WS-65310                   310       potential KFA
                                     Chaos Cave preserve; potential KFA because adjacent to
Chaos Cave                  30       undeveloped land
Beck Tex-2 Cave             41
Beck Horse Cave             41
Beck Pride Cave             41
Beck Bat Cave               41
Flint Wash Cave              ?
Beck Crevice Cave           ?
Beck Blowing Well Cave      ?
Beck Sewer Cave            10
Beck's Tin Can Cave        10
Black Cat Cave             10

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Beer Bottle Cave                 42
Beck Ranch Cave                   ?
Beck Rattlesnake Cave             ?
Broken Zipper Cave                ?    54-acre greenbelt
Joint Effort Cave                 ?    26-acre greenbelt?
Beck Bridge Cave                 26
Cat Hollow Bat Cave              2
Cat Hollow Cave #1               3
Cat Hollow Cave #2               26
O'Connor Cave                    26    in greenbelt
Cave Coral Cave                  28
Poison Ivy Cave (not all CCF)    30    Chaos Cave preserve
Under-the-fence Cave             30    Chaos Cave preserve
El Tigre Cave                     ?
Crescent Cave                     ?
Ensor Cave                        ?
Eulogy Cave                       ?
Leachate Cave                     ?
Jackhammer Cave                   ?
Scoot Over Cave                   ?
Serta Cave                        ?
Underdeveloped Cave               ?
Undertaker Cave                   ?
Vericose Cave                     ?
Wild Card Cave                    ?
Joker Cave                        ?
Hollow Oak Cave                   ?
Lineament Cave                    ?
McNeil Bat Cave                  20
No Rent Cave                    150?   cave may be mapped incorrectly
Fossil Garden Cave                ?
Millipede Cave                    ?    in school courtyard
Mustard Cave                      ?    mapped incorrectly
Pecan Gap Cave                  230    close to road
Pencil Cactus Cave              230    close to road
Rocky Horror Cave                32    close to road realignment
Sam Bass Hideaway Cave            ?    close to road
Stepstone Cave                    ?
Swarm Cave                        ?
Hole-In-The-Road Cave             ?
Cold Cave                        8


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War Party Cave                            32        near 2 subdivisions
                                                Cedar Park KFR
Lakeline Cave                             <1
Underline Cave                        developed
                                             Jollyville Plateau KFR
Gallifer Cave                            1,909       BCP; potential KFA
Tooth Cave                               1,909       BCP; potential KFA
McDonald Cave                            1,909       BCP; potential KFA
                                                     BCP; not KFA by itself but other caves in tract are
Root Cave                                1,909       potential KFAs
Stovepipe Cave                             55        potential KFA
MWA Cave                                   52        Four Points; potential KFA
Eluvial Cave                               52        Four Points; potential KFA
Jollyville Plateau Cave                    52        Four Points; potential KFA
Beard Ranch Cave                         4,189       BCP owned; potential KFA
Geode Cave                                145        close to road
                                                     Travis County owns and will monitor the entrance and
New Comanche Trail Cave                   254        conduct faunal surveys; close to road
Twisted Elm Cave                           3
                                                    Central Austin KFR
Cotterell Cave                             20
West Rim Cave                               ?
                                                   South Travis County
Barker Ranch Cave No. 1                 81           City of Austin-owned



*Unless otherwise noted all acreage estimates were calculated using Geographic Information Systems (GIS) (2008
digital aerial photography, 2006 Travis County parcel data, and 2005 Williamson County parcel data) and are
subject to typical margins of error associated with GPS units, GIS, and transferring data from paper sources to
digital media. These acreages and respective cave locations need to be ground-truthed (i.e., verified by site visits).
Also caves that appear to have enough acreage to qualify as a KFA did not meet all other recovery criteria, e.g.
distance to edge, surface, or subsurface drainage basins were not included in the tract.




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Map 1. T. reyesi Distribution



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      Climate Change
      According to the Intergovernmental Panel on Climate Change (IPCC) (2007) “Warming
      of the climate system is unequivocal, as is now evident from observations of increases in
      global average air and ocean temperatures, widespread melting of snow and ice, and
      rising global average sea level.” Average Northern Hemisphere temperatures during the
      second half of the 20th century were very likely higher than during any other 50-year
      period in the last 500 years and likely the highest in at least the past 1300 years (IPCC
      2007). It is very likely that over the past 50 years: cold days, cold nights and frosts have
      become less frequent over most land areas, and hot days and hot nights have become
      more frequent (IPCC 2007). It is likely that: heat waves have become more frequent over
      most land areas, and the frequency of heavy precipitation events has increased over most
      areas (IPCC 2007). To date, these changes do not appear to have had a negative impact
      on T. reyesi.

      The IPCC (2007) predicts that changes in the global climate system during the 21st
      century are very likely be larger than those observed during the 20th century. For the
      next two decades a warming of about 0.2°C (0.4°F) per decade is projected (IPCC 2007)
      Afterwards, temperature projections increasingly depend on specific emission scenarios
      (IPCC 2007). Various emissions scenarios suggest that by the end of the 21st century,
      average global temperatures are expected to increase 0.6°C to 4.0°C (1.1°F to 7.2°F) with
      the greatest warming expected over land (IPCC 2007). Localized projections suggest the
      southwest may experience the greatest temperature increase of any area in the lower 48
      States (IPCC 2007). The IPCC says it is very likely hot extremes, heat waves, and heavy
      precipitation will increase in frequency (IPCC 2007). There is also high confidence that
      many semi-arid areas like the western United States will suffer a decrease in water
      resources due to climate change (IPCC 2007). Milly et al. (2005) project a 10–30 percent
      decrease in precipitation in mid-latitude western North America by the year 2050 based
      on an ensemble of 12 climate models.

      Although climate change was not identified as a threat to T. reyesi in the original listing
      document or in the recovery plan, the species’ dependence on stable temperatures and
      humidity levels opens the possibility of climatic change impacting this species.
      Therefore, while it appears reasonable to assume that T. reyesi may be affected, we lack
      sufficient certainty to know how climate change will affect this species.

2.3   Synthesis

      According to recovery criterion (1) in the Travis and Williamson RP, three KFAs within
      each KFR should be protected. Protection is defined as an area sufficiently large to
      maintain the integrity of the karst ecosystem on which the species depends. These areas
      must also provide protection from threats such as RIFA, habitat destruction, and
      contaminants. Recovery criterion (2) requires at least five consecutive years of a cave
      meeting KFA status and that perpetual protection of these areas is in place. Since these
      species were listed in 1988, there have been significant steps toward protecting caves in
      which they occur and meeting the downlisting criteria.



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       Although T. reyesi is known from 168 caves occurring within 7 KFRs, at this time only 1
       karst preserve, located in the North Williamson County KFR, meets the definition of a
       protected KFA - the Priscilla’ s Well KFA. Other than this 1 KFA, there are 20 other
       tracts distributed in the North Williamson, Georgetown, McNeil/Round Rock, Jollyville
       Plateau, and South Travis KFRs, that may meet the definition of a KFA. However, more
       research needs to be conducted to delineate surface and/or subsurface drainage basins,
       confirm locations and tract acreage, and confirm management activities at caves that have
       potential to be a KFA. Once the needed analysis is accomplished and these tracts
       demonstrate that they meet the full requirements of a KFA, the fulfillment of recovery
       criterion (1) can progress. If a cave is determined to be a KFA, then information relating
       to recovery criterion (2) should be gathered and/or implemented to meet downlisting
       status. Based on additional research and/or implementation/confirmation of certain
       management activities, we should be able to make this determination. Until such time,
       we do not recommend a change in listing status for these species.

3.0    RESULTS

3.1    Recommended Classification:

               ____ Downlist to Threatened
               ____ Uplist to Endangered
               ____ Delist:
                     ____ Extinction
                     ____ Recovery
                     ____ Original data for classification in error
                 X No change is needed

3.2    New Recovery Priority Number: No change

4.0    RECOMMENDATIONS FOR FUTURE ACTIONS

      • Within the Jollyville Plateau KFR, fulfillment of the following actions will meet
        qualifications for the creation of KFAs on City of Austin lands included in the BCP:
           o Delineate the subsurface drainage basin for Stovepipe Cave, Beard Ranch Cave,
                and McDonald Cave located in Cuevas (Tomen Park) tract.
           o Verify footprint and subsurface drainage of Beard Ranch Cave.

      • Determine the footprint, surface and subsurface drainage basins, and establish RIFA
         control, management of trespass, and monitoring of T. reyesi for Barker Ranch Cave
         No. 1, located in South Travis County KFR, owned by the City of Austin.

      • To progress toward KFA status, work with landowners or organizations to confirm
        locations and tract acreage, determine footprints, and/or delineate surface and subsurface
        drainage basins for the following privately-owned caves:
            o In North Williamson County KFR: Karankawa and Polaris; Shaman and Pow
                Wow; Red Crevice, Temples of Thor, and Thor; Jensen; Lobo’ s Lair; Wolf”s

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       Rattlesnake
     o In Georgetown KFR: Round Rock Breathing; Steam and Fence-line Sink
     o In McNeil/Round Rock KFR: Blessed Virgin; Weldon; Rockfall; Raccoon
       Lounge; Wyoming Springs Corridor; Chaos Cave Preserve
     o In Jollyville Plateau KFR: Four Points complex – MWA, Eluvial, Jollyville
       Plateau caves; Cuevas cave complex – Tooth, McDonald

• Confirm and/or implement RIFA control and other management activities with the
  cooperation of landowners at the following privately-owned caves to progress toward
  attaining KFA status:
      o In North Williamson County KFR: Karankawa and Polaris; Shaman and Pow
          Wow; Jensen; Lobo’ s Lair and Wolf”s Rattlesnake
      o In Georgetown KFR: Round Rock Breathing; Steam and Fence-line Sink
      o In McNeil/Round Rock KFR: Blessed Virgin; Weldon; Rockfall; Raccoon
          Lounge; Wyoming Springs Corridor

• Apply recovery criterion 2 to any caves that meet KFA status.

• Draft delisting criteria and revaluate the status of the species in accordance with those
  criteria.

• Considering the geographic distance between northern (North Williamson, Georgetown,
  McNeil/Round Rock, Cedar Park, Jollyville Plateau, Central Austin KFRs) and southern
  (South Travis KFR) cave where this species occurs, the fact that they are separated by a
  major hydrologic divide (Colorado River), and that some northern caves overlap with the
  range of the closely related Bee Creek Cave harvestman (Texella reddelli), genetic
  analyses to confirm the presence of T. reyesi are needed.




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